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&lt;p&gt;&lt;font size="+1"&gt;&lt;strong&gt;&lt;center&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/font&gt;&lt;/center&gt;
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&lt;center&gt;NO. 03-&lt;a name="1"&gt;00&lt;/a&gt;-00&lt;a name="2"&gt;494&lt;/a&gt;-CR&lt;/center&gt;
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&lt;center&gt;&lt;a name="3"&gt;James Roy Ingram, a/k/a James Ray Ingram&lt;/a&gt;, Appellant&lt;/center&gt;
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&lt;p&gt;&lt;strong&gt;&lt;center&gt;v.&lt;/center&gt;
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&lt;p&gt;&lt;strong&gt;&lt;center&gt;The State of Texas, Appellee&lt;/center&gt;
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&lt;center&gt;FROM THE DISTRICT COURT OF &lt;a name="4"&gt;BELL&lt;/a&gt; COUNTY, &lt;a name="5"&gt;27TH&lt;/a&gt; JUDICIAL DISTRICT&lt;/center&gt;
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&lt;p&gt;&lt;strong&gt;&lt;center&gt;NO. &lt;a name="6"&gt;49,533&lt;/a&gt;, HONORABLE &lt;a name="7"&gt;MARTHA J. TRUDO&lt;/a&gt;, JUDGE PRESIDING&lt;/center&gt;
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&lt;/strong&gt;Appellant James Roy Ingram was convicted of robbery following a plea of guilty. 
&lt;em&gt;See&lt;/em&gt; Tex. Penal Code Ann. &amp;#167; 29.02 (West 1994).  The district court assessed punishment at
imprisonment for ten years, but suspended imposition of sentence and placed appellant on
community supervision for seven years.  The State later filed a motion to revoke supervision. 
Appellant pleaded true to all but one of the alleged violations.  The court revoked supervision and
imposed sentence.

&lt;p&gt;Appellant's court-appointed attorney filed a brief concluding that the appeal is
frivolous and without merit.  The brief meets the requirements of &lt;em&gt;Anders v. California&lt;/em&gt;, 386 U.S.
738 (1967), by presenting a professional evaluation of the record demonstrating why there are no
arguable grounds to be advanced.  &lt;em&gt;See also&lt;/em&gt; &lt;em&gt;Penson v. Ohio&lt;/em&gt;, 488 U.S. 75 (1988); &lt;em&gt;High v. State&lt;/em&gt;,
573 S.W.2d 807 (Tex. Crim. App. 1978); &lt;em&gt;Currie v. State&lt;/em&gt;, 516 S.W.2d 684 (Tex. Crim. App.
1974); &lt;em&gt;Jackson v. State&lt;/em&gt;, 485 S.W.2d 553 (Tex. Crim. App. 1972); &lt;em&gt;Gainous v. State&lt;/em&gt;, 436 S.W.2d
137 (Tex. Crim. App. 1969).  A copy of counsel's brief was delivered to appellant, and appellant
was advised of his right to examine the appellate record and to file a pro se brief.

&lt;p&gt;Appellant filed a pro se brief.  In it, he asserts that he was not guilty of the alleged
violations of the conditions of supervision and that he was misled by his attorney.  Appellant's plea
of true to the alleged violations is sufficient to support the revocation.  &lt;em&gt;Moses v. State&lt;/em&gt;, 590 S.W.2d
469, 470 (Tex. Crim. App. 1979).  The allegations regarding the statements and acts of counsel
are not supported by the record.

&lt;p&gt;We have reviewed the record, counsel's brief, and the pro se brief, and agree that
the appeal is without merit.  We find nothing in the record that might arguably support the appeal.

&lt;p&gt;The order revoking community supervision is affirmed.

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&lt;p&gt;				&lt;u&gt;                                                                       &lt;/u&gt;

&lt;p&gt;				Jan P. Patterson, Justice

&lt;p&gt;Before Chief Justice Aboussie, Justices B. A. Smith and Patterson

&lt;p&gt;Affirmed

&lt;p&gt;Filed:   January 11, 2001

&lt;p&gt;Do Not Publish
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